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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  Fort Worth Division

  Outsourcing Facilities Association, et al.,

                         Plaintiffs,

         v.                                          Case No. 4:24-cv-00953-P

  U.S. Food and Drug Administration, et al.,

                         Defendants, and

  Eli Lilly and Company,

                        Intervenor-Defendant.

               Brief in Opposition to Plaintiffs’ Motion for Summary Judgment

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                                           INTRODUCTION
      Plaintiffs’ motion for summary judgment is essentially a rerun of their failed bid for

 preliminary relief. This Court has already held that Plaintiffs’ claims were not likely to succeed

 on the merits, and Plaintiffs provide no valid reason for the Court to reach a different result now.

 Plaintiffs’ old arguments still fail and the few new ones are unconvincing.

      Plaintiffs again accuse FDA of misreading the governing provisions in the Federal Food,

 Drug, and Cosmetic Act (FDCA), but it is they who attempt to import non-existent

 methodological requirements into the statute. The FDCA does not require the agency to specify

 upfront the relevant time period for analysis. Nor does the statute require FDA to analyze only

 the most recent information; indeed, depending on the circumstances of the shortage in question,

 FDA may consider other types of information relevant to its shortage analysis. Contrary to

 Plaintiffs’ arguments, FDA applied the plain meaning of the statute by analyzing whether there

 was a national (as opposed to a regional) shortage. And since compounding would be curtailed

 after the shortage, FDA appropriately considered whether Lilly could accommodate increased

 demand from patients switching from a compounded drug to Lilly’s product.

      Plaintiffs’ attempts to undermine the validity of Lilly’s supply data—and cast FDA’s

 decision as arbitrary and capricious—are similarly unconvincing. Plaintiffs dispute Lilly’s ability
 to supply                   per month based on past production numbers, but they neglect the

 differences between a manufacturer’s current capability and its past production. Plaintiffs’ theory

 of a purported         -                                                 is based on an apples-to-

 oranges comparison that proves no “shortage.” Otherwise, they repeat the failed argument that

 FDA should have credited third-party anecdotal information, such as screenshots of wholesaler
 websites, online surveys, and news reports, which FDA reasonably concluded had limited

 probative value. The agency reasonably determined that the shortage was resolved.

      Finally, from the procedural standpoint, FDA’s drug shortage determination was an informal

 adjudication. As the Court explained in its order denying Plaintiffs’ motion for emergency relief,

 FDA’s declaratory order bore the hallmarks of an adjudication, applying a preexisting statutory
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 standard to a specific set of facts. Moreover, proceeding by declaratory order, rather than

 rulemaking, makes sense in this statutory setting. Congress directed FDA to keep the drug

 shortage list “up-to-date” and to protect the confidentiality of the factual material most critical to

 its decision. Those goals are near impossible to achieve in a rulemaking. FDA’s declaratory order

 also does not transform into a legislative rule merely because it affects a large number of third

 parties. As the Court pointed out, an adjudication may affect third parties, too. FDA thus did not

 abuse its discretion when it proceeded by declaratory order.

      Plaintiffs’ motion for summary judgment should be denied on all counts.

                                             ARGUMENT

 I.   FDA applied the correct legal standard and adequately explained its decision (Counts
      Two and Five)
      In Count Two, Plaintiffs argue that FDA failed to adequately explain its decision because it

 did not “select a period of time for analysis, explain why it selected that period of time, of [sic]

 make findings of supply and demand levels for that period of time.” ECF No. 122 (OFA Mot.) 9.

 Instead, they claim FDA improperly “[o]utsourced” those decisions to Lilly. Id. In Count Five,

 Plaintiffs claim that FDA incorrectly interpreted the governing statute. OFA Mot. 15–17.

 Plaintiffs are incorrect.

      Period of time. Plaintiffs again insist that FDA did not identify a specific “period of time”

 for analysis. OFA Mot. 9. As the Court previously found, “this argument . . . plainly fails.” ECF

 No. 100 (PI Order) 18. The statute does not contain Plaintiffs’ proposed methodological

 requirement. And, contrary to Plaintiffs’ assertion, FDA did specify the relevant time period.

      Because the statute does not actually require FDA to specify the “period of time” for

 analysis, Plaintiffs instead point to the statutory definition of a “drug shortage.” OFA Mot. 9

 (quoting FDA App. 3, 1 in turn quoting 21 U.S.C. § 356c(h)(2)). But this language—“a period of


 1
   Citations to “App.” are to the Appendix in Support of Plaintiffs’ Motion, ECF Nos. 122-1
 through 122-9. Citations to “FDA App.” are to the Appendix in Support of Federal Defendants’
 Motion, ECF No. 126-1. Citations to “FDA Opp. App.” are to the appendix to this brief.
                                                   2
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 time when the demand or projected demand for the drug within the United States exceeds the

 supply of the drug”—merely identifies what a shortage is and refers to how it occurs over a

 “period of time.” It says nothing about how FDA should determine whether a shortage exists or

 has ended.

      Rather than the rigid analysis Plaintiffs demand, the statutory text gives FDA discretion in

 deciding whether a shortage exists. That makes sense. Shortages brought on by different events

 may involve different factors that impact supply and demand. Suppose a drug’s sole

 manufacturing site is struck by a natural disaster and rendered inoperable. In that event, the

 extent of damage to the facility and the timeline to bring it back online are highly relevant. But

 where a drug shortage is caused by the scarcity of an ingredient, FDA’s analysis may consider

 the company’s current and future ability to source the ingredient. These examples are not purely

 hypothetical; Congress recognized the variable settings in which a shortage analysis occurs. 21

 U.S.C. § 356e(b)(3) (requiring FDA to list the cause of the delay, including shortages of

 ingredients or discontinuance in manufacture of the drug).

        Here, the shortage was caused by “high demand,” FDA App. 4, so FDA appropriately

 focused on whether Lilly’s ability to supply tirzepatide had caught up with the demand, FDA

 App. 16–41. FDA determined at the outset that the focus was on whether “Lilly’s supply is

 currently meeting or exceeding demand” and whether supply “will meet or exceed projected

 demand.” FDA App. 13. Indeed, as the Court found, “[o]n multiple occasions, the Delisting

 Action clarifies that it considered the previously produced supply and demand numbers for

               to               , as well as the recently released                 numbers and the

 projected numbers through                .” PI Order 18; see also id. (“While the Delisting Action

 occasionally references narrower time frames, the decision as a whole focuses on a set of data

 and projected data from a specific time frame—                  to             .”). It is simply

 inaccurate that FDA did not identify or explain the time period for analysis, much less that the

 agency outsourced the decision to Lilly. See OFA Mot. 9–10.



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      Presentation of data. Plaintiffs also believe that the data Lilly provided FDA should have

 complied with certain accounting practices or been easier to audit. OFA Mot. 11–13. But FDA

 reasonably evaluated the data before it and reasonably explained the conclusions it drew

 therefrom, which is all the Administrative Procedure Act (APA) requires. See FCC v. Prometheus

 Radio Project, 592 U.S. 414, 427 (2021) (“the [agency] made a reasonable predictive judgment

 based on the evidence it had”). It nevertheless bears mention that FDA gathered a host of

 detailed information about the supply and demand for Lilly’s drugs, and interrogated Lilly’s

 information through multiple rounds of questions and responses.

      While nothing in the drug shortage statute requires a company to provide, or the agency to

 evaluate, data in any particular form, FDA did request that Lilly provide additional information

 in a particular format, just not in the way Plaintiffs might have preferred. For example, FDA

 considered the way in which aggregated information regarding total Zepbound/Mounjaro doses

 might not reflect the supply/demand situation for individual dose strengths, and therefore asked

 for various data points to be disaggregated (broken down) by individual strength. FDA Opp.

 App. 1, FDA App. 106, App. 102; see FDA App. 17–22 (providing and discussing that

 information). In other instances, FDA sought more detailed data regarding projected cumulative

 supply and demand (App. 81), Lilly’s inventory (App. 100–103), and wholesalers’ inventories

 (App. 84, FDA App. 171–79). Thus, the record refutes OFA’s accusations that FDA “blindly”

 relied on whatever information Lilly chose to provide. OFA Mot. 18.

      Plaintiffs fault FDA for not articulating “which of the competing showings of supply and

 demand it considered determinative.” OFA Mot. 13. But FDA’s decision was based on its review

 of a variety of information, including finished and semi-finished product stock reports, past and

 current cumulative supply and demand, 2 projected supply and demand, and wholesaler

 2
   Plaintiffs ask “what cumulative figures actually show.” OFA Mot. 14. Their question is
 answered in the decision memorandum itself. FDA App. 19 (explaining supply and demand
 figures for the cumulative supply and demand tables). Though Plaintiffs fault those figures for
 not showing Lilly’s “inventory” at any given point of time, OFA Mot. 14, they ignore Table 1 of
 the decision memorandum, which does just that, FDA App.19.
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 information. FDA reasonably found that all of those types of information supported the same

 ultimate conclusion, and regarded no one source as determinative. See FDA App. 17–27. FDA

 also considered a variety of information provided by compounders and other stakeholders related

 to supply and demand in reaching its determination. FDA App. 28–41. Nonetheless, Plaintiffs

 demand to know what single figure was dispositive because they say there is an inconsistency

 between two of the charts in FDA’s decision. OFA Mot. 14. Plaintiffs, however, are comparing

 Table 1 of the decision memorandum (which reports Lilly’s net inventory 3 on

      , as around            doses) with Table 4 (which Plaintiffs say reports the cumulative net

 supply/demand as of                      as             doses). Id. It is not obvious what Plaintiffs

 are referring to in Table 4, which does not reflect any apparent            figure for          ,

 but, in any event, figures from Table 1 and Table 4 do not need to match to be accurate: Lilly’s

 net inventory on hand at a given point in time (as reflected in Table 1) need not match the

 cumulative net supply/demand at the time. As Lilly explained, these were different data sets

 based on different metrics, and were not intended to represent the same thing. FDA App. 186. 4
      Up-to-date. Congress requires the shortage list to be “up-to-date,” 21 U.S.C. § 356e(a),

 which to Plaintiffs means that FDA can only consider the most recent information available. OFA

 Mot. 15. This argument is at odds with both the statutory text and what FDA did. Congress told

 FDA to maintain “an up-to-date list,” but otherwise left to the agency’s discretion how to meet

 that requirement, including any temporal qualifications on evidence. Here, FDA did consider the

 3
   Plaintiffs claim FDA misinterpreted the “stock report” information it received from Lilly, from
 which FDA reproduced “net inventory balance information” in Table 1. OFA Mot. 22–23.
 Table 1 reported “inventory net of open orders” and FDA accurately and consistently described
 that inventory as “excess” because it represented inventory left over after fulfilling all open
 orders. FDA App. 17–19; see, e.g., FDA App. 209 (one of Lilly’s stock reports).
 4
   Plaintiffs also fault FDA for overlooking “obvious questions about product storage, loss, and
 longevity” and say it is not “realistic” for a dose from               to be counted as part of the
 “cumulative demand” in                  . OFA Mot. 14. To the extent Plaintiffs suggest that Lilly
 may have kept the literal same doses from                 on its shelves through        and that
 Lilly should not have counted them due to expiration, FDA did not need to ask Lilly to know that
 any rational manufacturer would ship out its older doses first, not its newest.
                                                  5
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 most recent information available, and focused on it at multiple points. See FDA App. 19

 (considering information provided to FDA two days before the decision). And FDA permissibly

 considered older data including information demonstrating
                                                                                  , see FDA App. 26

 & n.57, and information demonstrating positive trends such as an “increasing amount of

 additional supply over the course of the year,” FDA App. 19. In other shortages, older data might

 prove relevant for other reasons, such as showing seasonal fluctuations in demand.

      Geographic scope. Plaintiffs argue that a “shortage” under the statute could be “regional”
 and fault FDA for evaluating the evidence for a “national” shortage. OFA Mot. 15–16. FDA is

 obligated to “maintain an up-to-date list of drugs that are determined . . . to be in shortage in the

 United States.” 21 U.S.C. § 356e(a). The statute, moreover, defines a drug shortage as “a period

 of time when the demand or projected demand for the drug within the United States exceeds the

 supply of the drug.” 21 U.S.C. § 356c(h)(2) (emphasis added). Corresponding with that

 nationwide focus, the restriction on an outsourcing facility compounding drugs that are

 “essentially a copy of an approved drug” is entirely lifted if the product is identical or nearly

 identical to an approved drug that appears on the drug shortage list, 21 U.S.C. § 353b(a)(5),

 (d)(2)(A). Similarly, the “essentially a copy” restrictions on 503A compounding are entirely

 lifted if the approved drug is in shortage. Id. § 353a(b)(1)(D). These statutory provisions do not

 contemplate the lifting of compounding restrictions in some geographic areas but not in others,

 see id. §§ 353a(b)(1)(D), 353b(a)(5), and doing so would make no sense given modern supply

 chains and drug distribution networks.

      Plaintiffs observe that the references in 21 U.S.C. § 356c(h)(2) to “within the United

 States,” and in 21 U.S.C. § 356e(a) to “in the United States,” could be read to mean any portion

 of the United States, OFA Mot. 16. This theory is at odds with this statutory scheme. See 21

 U.S.C. §§ 353a(b)(1)(D), 353b(a)(5). Moreover, Plaintiffs’ “regional shortage” theory lacks any

 limiting principle, such that FDA might declare a drug shortage at the individual pharmacy level.

 Plaintiffs fail to address these glaring problems, which doom their interpretation. See Colonial

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 Am. Life Ins. Co. v. Comm’r of Internal Revenue, 491 U.S. 244, 257 (1989) (although “the

 language on which petitioner relies, taken in isolation, could be read to authorize” the

 interpretation, “when the statutory and regulatory language is parsed more carefully, petitioner’s

 position becomes dubious, and when the language is read against the background of the statutory

 structure, it becomes untenable”). Put simply, FDA reasonably applied the plain statutory

 language to assess whether there was a nationwide shortage of tirzepatide.

      Demand for compounded products. Plaintiffs say that FDA should have counted demand

 for compounded tirzepatide when assessing current demand for Lilly’s products. Further,

 Plaintiffs say it was inconsistent for FDA to consider demand for compounded products when

 evaluating future demand for Lilly’s products after compounding would be curtailed. OFA

 Mot. 17. FDA did exactly what the statute requires. As Federal Defendants explained, ECF No.

 125 (FDA Mot.), compounded products are not the same “drug” that FDA declared to be in

 shortage. This is for good reason: following Plaintiffs’ theory to its logical conclusion, if the

 agency included (as Plaintiffs propose) compounded versions as part of the drug’s available

 supply, the moment that supply of both the compounded product and the approved drug met

 overall demand, the shortage would be over and compounding would end. FDA Mot. 7. Then the

 shortage would immediately begin anew due to the absence of the supply of compounded

 products. Id. The cycle would continue indefinitely, which is manifestly not what Congress

 intended. See Carpenters Dist. Council of New Orleans & Vicinity v. Dillard Dep’t Stores, Inc.,

 15 F.3d 1275, 1285 (5th Cir. 1994) (“A well-accepted canon of statutory construction requires the

 reviewing court to avoid any interpretation that would lead to absurd or unreasonable

 outcomes.”).

      By contrast, FDA properly considered how the restrictions on lawful compounding would

 impact future demand for Lilly’s product. Presumably, upon the end of the shortage, some

 number of patients who had received the compounded version would switch to Lilly’s product.

 Here, FDA provided several reasons why it would not anticipate the transition to be “one-for-

 one.” FDA App. 39–39. But nonetheless, FDA took the known volume of compounded products

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 and assumed that all patients receiving the compounded product would switch to Lilly’s product.

 FDA App. 36–39. Even under that conservative scenario, the agency reasonably found that

 Lilly’s supply would still meet demand. Id.

        In sum, FDA correctly interpreted the governing statute, considered the relevant

 information, and adequately explained its decision. Plaintiffs’ motion for summary judgment on

 Counts Two and Five should be denied.

 II. FDA’s decision was not arbitrary and capricious (Counts Three and Four)
        As in their motion for a preliminary injunction, Plaintiffs ask the Court to focus on “data

 points from shorter periods of time, within the overall time frame, that could lead to a different

 result.” PI Order 22. The Court rightly rejected that argument, id., and Plaintiffs’ new variation

 on that theme is similarly meritless. 5 Compared to Plaintiffs’ reliance on anecdotal information,

 the Court found that FDA reasonably “g[ave] more weight to specific, reliable, comprehensive,

 and current information from Lilly.” PI Order 26. For the same reasons, Plaintiffs are not now

 entitled to summary judgment on Counts Three or Four.

        Lilly’s data. Plaintiffs’ first misstep is doing “                                  ” that

 completely ignores Lilly’s           data, even though Plaintiffs’ own table (“Table C”) shows that

 Lilly’s cumulative supply exceeded demand by                    doses by                       . See

 OFA Mot. 19 (listing the “total difference” between supply and demand for


 5
   Federal Defendants recently identified a transcription error in the decision memorandum. One
 row of Table 6, for the “Total” projected cumulative supply of tirzepatide single-dose pens,
 incorrectly retained numbers that reflected an earlier projection Lilly had provided. See FDA
 App. 27 (decision), 191 (earlier numbers), 208 (updated numbers). The rest of the Table was and
 remains accurate, including the “Total Net” values, and the error was not material to FDA’s
 ultimate decision. See FDA App. 26–27. The corrected figures appear below in context with the
 incorrect values crossed out:
     Total
     Cum. demand
     Cum. supply
     Net (cum. s–d)


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      ; yielding a sum of                ); see also FDA App. 22 (Table 4). Plaintiffs say that FDA’s

 consideration of “projected” supply and demand should have ignored Lilly’s significant surplus

 of tirzepatide at                          because it was inconsistent with the statute’s directive to

 keep the list “up-to-date.” OFA Mot. 19–20. That blinks reality and common sense. The agency

 reasonably considered Lilly’s existing surplus of tirzepatide because Lilly could use that supply

 to meet future demand.

      Next, Plaintiffs fault FDA for considering Lilly’s stated manufacturing capacity of

                     per month. FDA explained in its decision memorandum and previously here

 that it found that assertion to be “credibl[e].” FDA App. 25–27, 39. Plaintiffs disagree, saying it

 is “obvious[ly]” inconsistent with Lilly’s reports showing production of fewer than

       per month. OFA Mot. 20–21. But the fact that Lilly may not have produced

       in the previous months does not mean that it lacked the capacity to do so, then or going

 forward. Nor would Lilly need to maximize its manufacturing capabilities when its supply

                already outpaced demand. It is nevertheless worth noting that, when the corrected

 values of Table 4 are accounted for, see supra p. 8 n.5, Lilly’s updated projection was that it

 would supply                 more doses in                    . FDA App. 22 (cumulative supply of

                in                   ), 27, 208 (showing projected cumulative individual strength

 supply, when added showing total supply of                    in                 ).

      Slicing and dicing Lilly’s data, Plaintiffs claim that in                                      ,

 there was “literally a period of time where supply fell below demand.” OFA Mot. 21–22. For

 Plaintiffs to arrive at a claimed                discrepancy, Plaintiffs’ analysis starts by ignoring

 the data’s limitations, extrapolates from a table intended for a different use, and ultimately

 compares apples (orders received) to oranges (doses shipped). They have not identified a period

 of shortage.

      Plaintiffs start at Table 5 (FDA App. 24), which reported the volume of “units” (each of

 which had four doses) that Lilly supplied to wholesalers during                                  . OFA

 Mot. 22. The “                 ” table was provided to FDA on                         , see FDA App.

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 168, 172, but Plaintiffs assume that it reflects only                                                 and

 use those values to extrapolate a number                            —shipped to wholesalers in

                                , OFA Mot. 22. Plaintiffs then look to the table showing Lilly’s

 cumulative demand, Table 4, and glean what they say was the monthly “demand” for

                      :                  . OFA Mot. 22. Plaintiffs then subtract            from

         to declare a “shortage” of           , id.—about                               .

      Plaintiffs themselves describe their analysis as “a limited comparison,” OFA Mot. 21 but,

 even assuming their methodology is valid, Lilly explained when reporting the “demand” values

 that those numbers refer to “actual orders received from wholesalers.” FDA App. 145. Plaintiffs’

 comparison is therefore between doses “shipped” and “orders received,” values that should not

 be expected to exactly align for any given month. Some percentage of orders during that period

 could easily have been received                                   but not shipped until                so

 Plaintiffs’ “limited comparison” sheds no light on Lilly’s ability to fulfill its orders.

      A “shortage” based on that data would also be inconsistent with other information before

 FDA because,                                    , Lilly reported a net inventory of                     .

 FDA App. 19. And Plaintiffs completely overlook an important element of Lilly’s data that casts

 a long shadow over all their arguments. Lilly’s data consistently showed                          of semi-

 finished doses of tirzepatide on hand, which gave it the “ability” to supply finished products

 “relatively quickly.” FDA App. 18–19. Plaintiffs do not address this stockpile. So to satisfy any

 unexpected increase in demand, Lilly indisputably had a robust inventory of semi-finished

 product that it could quickly convert to finished product.

      Other Evidence. Contrary to Plaintiffs’ claims, OFA Mot. 23–27, FDA reasonably evaluated

 the other evidence before it. Plaintiffs first point to “screenshots of wholesalers’ webpages” as

 demonstrating a national shortage of tirzepatide and erroneously argue that FDA ignored this

 evidence. In fact, FDA specifically asked Lilly to explain the distribution channels for its

 products, and Lilly gave explanations for why some screenshots showed limited supply.

 App. 81–82 (Oct. 28, 2024 question), 84–94 (Nov. 5, 2024 response), 100–103 (Nov. 26, 2024

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 follow-up); 104–122 (Dec. 6, 2024 response). Among other things, Lilly explained that




                         . App. 112.

                                                                                     App. 112–13.




 App. 113.



                 App. 113. Rather than disregarding the screenshots in the record, FDA carefully

 evaluated them and correctly found that they were of limited probative value. FDA App. 31–33;

 see Prometheus Radio Project, 592 U.S. at 426 (“The FCC did not ignore the Free Press studies.

 The FCC simply interpreted them differently.”).

     Plaintiffs cannot show otherwise. Plaintiffs contest FDA’s observation that the screenshots

 had “limitations” by citing some that had date information                                   . OFA

 Mot. 24 (citing App. 218–34, App. 387–88, App. 395–97, App. 402–403). But many of the

 screenshots concern a drug not at issue in this case (see App. 221–22, 224–25, 233–34), and

 others do not involve wholesalers’ websites at all (see App. 402–403). More importantly, the

 screenshots are consistent with Lilly’s explanations to FDA, because




                                       See FDA App. 177; see also FDA App. 33.

     Plaintiffs also claim that screenshots of                    website containing statements like

                                                              demonstrate that pharmacies were

 unable to order tirzepatide from that wholesaler. OFA Mot. 24 (citing App. 576–78, 589, 623,

                                                  11
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 667–69, 679–80, 682, 714). But FDA acknowledged these screenshots, too, and discussed their

 limitations. FDA App. 32; see also FDA App. 177–78 (

                                                         ), 199–200 (



             ). Moreover, all the screenshots are listed as                                so they

 represent only a snapshot of that time. See, e.g., App. 576.

      Next, Plaintiffs question FDA’s assessment of survey data, contending that one survey
 encompassed shortage reports from “tens of thousands” of individuals. OFA Mot. 24–25 (citing

 App. 362–65). Plaintiffs refer to the “hims & hers” survey, which included 27,969 responses

 regarding tirzepatide between September 1 and November 9, 2024. App. 362–65. As FDA found,

 individual reports are better explained by localized supply chain issues, not a national shortage.

 App. 34. Moreover, neither the hims & hers survey nor the other one cited by OFA, see App.

 249–50, were reliable or detailed. Plaintiffs protest that the survey data was “as detailed as

 descriptions get” because they included a variety of zip codes and asked whether the respondent

 had attempted to fill their prescription at more than one pharmacy. OFA Mot. 25 (citing App.

 249–50). But as FDA pointed out, it was “not clear how this information was collected” and did

 not “include details of the reported individual experiences,” such as whether the respondent was

 reporting an “inability to get a prescription from a doctor” or to “get insurance coverage,” neither

 of which would be relevant to supply or demand. App. 34. FDA also observed that using internet

 forms to collect data “significantly limit[ed]” the surveys’ “probative value” because the

 respondents were not necessarily representative of the patient population, and because some

 individuals may have submitted multiple responses. App. 35. FDA permissibly found that this

 survey failed to “undermine or outweigh the information submitted by Lilly.” App. 32.

      The anecdotal news reports that FDA received also had limited probative value, consisting

 of “personal accounts of inability to get a particular product at a particular time.” App. 37.

 Plaintiffs argue FDA “addressed none of it on the merits” and “ignored” reporting that was

 “unfavorable to its conclusions.” OFA Mot. 25–26. This is incorrect. This Court previously found

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 that FDA specifically addressed the news reports and that it was “not unreasonable for the FDA

 to give more weight to specific, reliable, comprehensive, and current information from Lilly,

 than news reports and blog posts from sources who may have had ulterior motives and lacked the

 same detailed data presented to the FDA.” PI Order 26.

      Plaintiffs also incorrectly assert that FDA “zero[ed] out” the volume of compounded

 product sales and “disregard[ed] demand for compounded products.” OFA Mot. 26. FDA

 specifically acknowledged the volume of compounded tirzepatide and assumed for the sake of

 analysis that all known demand for compounded products would switch to Lilly’s products.

 App. 38–39. “After a lengthy discussion,” this Court correctly determined, FDA reasonably

 found that “Lilly would be able to meet the projected demand” after compounded drugs were

 curtailed. PI Order 27–28.

      FDA’s decision was not arbitrary or capricious, and Plaintiffs’ motion for summary

 judgment on Counts Three and Four should be denied.

 III. FDA’s decision was an adjudication and not subject to notice-and-comment
      requirements or publication in the Federal Register (Counts One and Six)
      The Court should deny Plaintiffs’ motion for summary judgment on Counts One and Six

 because FDA properly proceeded via adjudication. Plaintiffs recycle (mostly verbatim)

 arguments from their preliminary-injunction motion that this Court already rejected. See PI

 Order 6–16. It should reject them again. See FDA MSJ 12–16.

      Plaintiffs resuscitate their claim that FDA’s determination was a legislative rule subject to

 notice-and-comment requirements because it “create[d] law” by “prohibiting” conduct. OFA

 Mot. 28. But as the Court rightly pointed out, the source of the prohibition was “an existing

 statute,” not FDA’s decision. PI Order 16. FDA “simply looked at the evidence presented” to

 make a “factual determination on whether one number was bigger than another.” PI Order 16.

 The decision did not “promulgate a new policy-type rule or standard,” and had “immediate legal

 consequences for specific parties,” both hallmarks of an adjudication, not a rule. PI Order 15.



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      Plaintiffs posit the decision has “all the hallmarks” of a rulemaking because it “affects the

 rights of thousands” of entities, affected parties were not “party” to it, and it had “prospective”

 effects. OFA Mot. 28–30. But “an adjudication can affect a large group of individuals without

 becoming a rulemaking.” PI Order 12 (quoting Goodman v. FCC, 182 F.3d 987, 994 (D.C. Cir.

 1999)). Indeed, as the Court observed, FDA “routinely” conducts adjudications that affect large

 numbers of third parties when it evaluates new drug applications. PI Order 13. 6

      Plaintiffs also renew their misguided argument that the shortage determination improperly

 created and applied a “new methodology.” OFA Mot. 33. As set out above, however, FDA did

 not “disregard[] all demand satisfied by compounded supply, dismiss[] all evidence of

 unavailability, and accept[] the manufacturer’s representations without verification or cross-

 checking.” OFA Mot. 33. And even if it had, the Supreme Court recently reaffirmed that

 “agencies are generally free to develop standards ‘either by general [legislative] rule or by

 individual order’ in an adjudication.” FDA v. Wages and White Lion Invs., LLC, 145 S. Ct. 898,

 2025 WL 978101, at *12 (2025) (quoting SEC v. Chenery Corp., 332 U.S. 194, 202–203 (1947)).

      Even if a shortage determination were considered a “rule,” the APA’s notice-and-comment

 requirements would not have applied. That is because the drug shortage statute’s provisions

 displace the APA’s default notice-and-comment requirements by “necessary implication.” Dorsey

 v. United States, 567 U.S. 260, 274 (2012); see FDA PI Opp. 18–19. As this Court concluded,

 FDA could not keep the drug shortage list “up-to-date” if modifying it required notice and

 comment. “Given the constant fluctuation in national supply and demand numbers for a given

 drug,” the Court rightly observed, “a rule based on data that is more than a month old cannot be

 said to be based on ‘the latest information’ available.” PI Order 9–10. Further, the statute requires

 FDA to maintain as confidential the factual material most critical to its decision, and maintaining

 that confidentiality while also providing the public a meaningful opportunity to comment would


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   As one example, FDA approval of a drug results in some manufacturers (including Lilly here)
 receiving a five-year period of exclusivity blocking certain applications of other manufacturers
 for drugs using the same active moiety. See 21 U.S.C. § 355(c)(3)(E)(ii).
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 be an “unattainable” goal. PI Order 9 n.3. In this context, those provisions are irreconcilable with

 notice-and-comment requirements, displacing them by necessary implication.

      Finally, because FDA’s decision was not a legislative rule, it necessarily follows that

 Plaintiffs are also incorrect when they claim that the decision needed to be published in the

 Federal Register under 5 U.S.C. § 552(a)(1)(D). Am. Compl. ¶¶ 103–107 (Count Six); OFA Mot.

 33. The Court should therefore also deny Plaintiffs’ motion for summary judgment on Count Six.

                                            CONCLUSION
      Plaintiffs’ motion for summary judgment should be denied.

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                                  CERTIFICATE OF SERVICE

      I hereby certify that this document, filed through the CM/ECF system, will be sent by

 electronic mail to the registered participants as identified on the Notice of Electronic Filing.


 April 16, 2025                                        /s/ Oliver McDonald
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